           Case 3:19-bk-30289                     Doc 1     Filed 07/01/19 Entered 07/01/19 03:02:35                              Desc Main
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
     Southern                      West Virginia
 ____________________ District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                          Check if this is an
                                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.    Debtor’s name                           Blackjewel L.L.C.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used              N/A
                                            ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer
                                                  XX-XXXXXXX
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                         of business

                                             1051 Main Street
                                            ______________________________________________               _______________________________________________
                                            Number     Street                                            Number     Street

                                            ______________________________________________               _______________________________________________
                                                                                                         P.O. Box

                                             Milton, WV 25541
                                            ______________________________________________               _______________________________________________
                                            City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                             Cabell County
                                            ______________________________________________
                                            County                                                         See Rider I
                                                                                                         _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




5.    Debtor’s website (URL)                ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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Debtor            Blackjewel L.L.C.
                _______________________________________________________                         Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         X None of the above


                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                1 ___
                                             2 ___
                                            ___    2 ___
                                                      1

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         X Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,490,925 (amount subject to adjustment on
                                                              4/01/16 and every 3 years after that).
                                                          
                                                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        
                                         X No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an             
                                         X Yes.              See Rider II
                                                   Debtor _____________________________________________               Affiliate
                                                                                                        Relationship _________________________
      affiliate of the debtor?                                Southern District of West Virginia
                                                   District _____________________________________________ When                06/30/2019
                                                                                                                              __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
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Debtor          Blackjewel L.L.C.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       
                                       X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      
                                       X No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                     Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                               Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                               Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  
                                       X Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                           
                                                                        X 1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million            
                                                                        X $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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                   IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

In re:                                           )     Chapter 11
                                                 )
Blackjewel L.L.C.,                               )     Case No. 19-[_________]
                                                 )
                         Debtor.                 )     (Joint Administration Requested)

                                            RIDER I

                                   Location of Principal Assets

The Debtor maintains principal assets at the following locations:

 Belle Ayr Mine                                   Big Laurel
 2273 Bishop Road                                 1416 Roda Road
 Gillette, WY 82718                               Appalachia, VA 24216
 Eagle Butte Mine                                 North Fork No. 6
 10023 Highway 14-16                              890 Highway 3404
 Gillete, WY 82716                                Partridge, KY 40862
 Central Distribution Center                      Clover Lick Mine
 3205 South Highway 59                            2841 Cloverlick Road
 Gillette, WY 82718                               Cumberland, KY 40823
 Pax Surface Mine                                 Panther Mine
 1129 Town Creek Road                             1582 Cloverlick Road
 Scarbro, WV 25917                                Cumberland, KY 40823
 Cumberland River Surface Mine                    Red Ash Mine
 763 Blued Ridge Road                             3647 Wimmer Gap Road
 Partridge, KY 40862                              Jewell Ridge, VA 24622
 Beechfork Mine                                   Tiller #1 Mine
 5444 Highway 421                                 1674 Jewell Valley Road
 South Helton, KY 40840                           Jewell Ridge, VA 24622
 Osaka Mine                                       Tiller #2 Mine
 2116 Roda Road                                   2559 Jewell Valley Road
 Appalachia, VA 24216                             Jewell Ridge, VA 24622
 F Seam Mine                                      Clover Fork Mine
 1573 Cloverlick Road                             25861 Highway 38
 Cumberland, KY 40823                             Evarts, KY 40828
 Huff Creek Mine                                  Kellioka Mine
 25971 Highway 38                                 25971 Highway 38
 Evarts, KY 40823                                 Evarts, KY 40828
 Tunnel Mine                                      Shamrock Prep Plant
 2827 Monarch Road                                4901 North Highway 421
 St. Charles, VA 24282                            Helton, KY 40840
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Pigeon Creek Processing                    Cave Branch Prep Plan
78 North Stonega Road                      1562 Clover Lick Road
Appalachia, VA 24216                       Cumberland, KY 40823
Straight Creek Prep Plant                  Flat Rock Prep Plan
10405 Highway 221                          1399 Bee Hive Hollow
Stony Fork, KY 40988                       Honaker, VA 24260
Lone Mountain Processing                   Clover Loadout
2827 Monarch Road                          2527 West Highway 221
St. Charles, VA 24282                      Bledsoe, KY 50810
Raven Dock
219 Raven Dock Road
Rave, VA 24639
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                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

In re:                                                  )      Chapter 11
                                                        )
Blackjewel L.L.C.,                                      )      Case No. 19-[_________]
                                                        )
                             Debtor.                    )      (Joint Administration Requested)

                                                  RIDER II

             Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

          On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of West Virginia for relief under chapter 11
of title 11 of the United States Code. The Debtors will move for joint administration of these cases under
the case number assigned to the chapter 11 case of Blackjewel, L.L.C.


               Blackjewel Holdings, L.L.C.

               Revelation Energy, LLC

               Revelation Energy Holdings, LLC

               Revelation Management Corp.
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                   IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

In re:                                           )     Chapter 11
                                                 )
Blackjewel L.L.C.,                               )     Case No. 19-[_________]
                                                 )
                         Debtor.                 )     (Joint Administration Requested)


                        CORPORATE OWNERSHIP STATEMENT

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
or more of any class of the debtor’s equity interest:



                Shareholder                                 Approximate Percentage
 Blackjewel Holdings, L.L.C.                                        100%
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                           IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

        In re:                                             )      Chapter 11
                                                           )
        Blackjewel, L.L.C., et al.,                        )      Case No. 19-[_________]
                                                           )
                               Debtors.1                   )      (Joint Administration Requested)

                              CONSOLIDATED LIST OF CREDITORS
                          HOLDING THE 30 LARGEST UNSECURED CLAIMS

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”) filed
    a voluntary petition for relief under chapter 11 of title 11 of the United States Code (the
    “Bankruptcy Code”). The following is a consolidated list of the Debtors’ creditors holding the
    thirty largest unsecured claims (the “Creditor List”) based on the Debtors’ unaudited books and
    records as of the petition date. The list is prepared in accordance with Fed. R. Bankr. P. 1007(d)
    for filing in these chapter 11 cases.
             The Creditor List does not include (i) persons who come within the definition of “insider”
    set forth in section 101(31) of the Bankruptcy Code or (ii) secured creditors, unless the value of
    the collateral is such that the unsecured deficiency places the creditor among the holders of the
    thirty largest unsecured claims. The information contained herein does not constitute a waiver of
    the Debtors’ right to contest the validity, priority, or amount of any claim at a later date.

             NAME OF CREDITOR AND COMPLETE                NATURE          INDICATE IF           AMOUNT OF
                    MAILING ADDRESS                       OF CLAIM          CLAIM IS              CLAIM
                                                                         CONTINGENT,
                                                                        UNLIQUIDATED,          (If Secured, also
                                                                         DISPUTED, OR            state value of
                                                                          SUBJECT TO                security)
                                                                             SETOFF

1         Department of the Interior-ONRR                 Royalties                           $60,058,947.80
          Attn: Jessica Polacek
          P.O. Box 25627
          Denver, CO 80225-0627
          Email: Jessica.polacek@onrr.gov
2         Campbell County Treasurer                         Taxes                             $37,085,803.80
          Attn: Rachel Knust
          P.O. Box 1027
          Gillette, WY 82717
          rek03@ccgov.net


    1
     The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number
    are as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation Energy Holdings,
    LLC (8795); Revelation Management Corporation (8908) and Revelation Energy, LLC (4605). The headquarters
    for each of the Debtors is located at 1051 Main Street, Milton, West Virginia 25541-1215.
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        NAME OF CREDITOR AND COMPLETE       NATURE         INDICATE IF    AMOUNT OF
               MAILING ADDRESS              OF CLAIM         CLAIM IS       CLAIM
                                                          CONTINGENT,
                                                         UNLIQUIDATED,   (If Secured, also
                                                          DISPUTED, OR     state value of
                                                           SUBJECT TO         security)
                                                              SETOFF

3     Wyoming Department Of Revenue           Taxes                      $11,624,023.74
      Herschler Building
      2nd Floor West
      122 West 25th Street
      Cheyenne, WY 82002-0110
      Fax No. (307) 777-3632
4     Department of the Treasury              Taxes                      $10,339,211.56
      Internal Revenue Service
      Cincinnati, OH 45999-0009
5     United Central Industrial Supply        Trade                       $8,880,080.27
      Attn: Henry Looney
      P.O. Box 743849
      Atlanta, GA 30374-3849
      henry.looney@unitedcentral.net
6     CAM Mining LLC                         Royalties     Disputed       $8,750,000.00
      P.O. Box 1169
      Pikeville, KY 41501
      Fax No. (606) 432- 7378
7     Smith-Manus                             Surety                      $8,007,290.35
      Attn: Brook Smith                       Bonds
      2307 River Road, Suite 200
      Louisville, KY 40206-5005
      bsmith@smith-manus.com
8     Austin Powder Company                   Trade                       $7,305,820.50
      Attn: Mike Gleason
      25800 Science Park Drive
      Cleveland, OH 44122
      Mike.Gleason@austinpowder.com
9     Rockwood Casualty Insurance Company   Insurance                     $6,530,881.00
      Ron Davidson
      654 Main Street
      Rockwood, PA 15557
      Ron.Davidson@rockwoodcasualty.com
10    Whayne Supply Company                   Trade                       $6,324,682.31
      Attn: Joe Yoerg
      Department 8326
      Carol Stream, IL 60122
      Joseph_yoerg@whayne.com



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         NAME OF CREDITOR AND COMPLETE         NATURE        INDICATE IF   AMOUNT OF
                MAILING ADDRESS                OF CLAIM        CLAIM IS      CLAIM
                                                            CONTINGENT,
                                                           UNLIQUIDATED,   (If Secured, also
                                                            DISPUTED, OR     state value of
                                                             SUBJECT TO         security)
                                                                SETOFF

11     United Industrial Services, Inc.          Trade                     $6,191,053.33
       Attn: Kevin Wiley
       P.O. Box D
       101 Spruce Street,
       Rich Creek, VA 24147
       skwunited@gmail.com
12     Contura Energy                            Trade                     $6,100,000.00
       Attn: Andy Eidson
       431 Running Right Way
       Julian, WV 25529
       Andy.Eidson@conturaenergy.com
13     Kentucky State Treasurer                  Taxes                     $6,052,821.64
       Attn: Stephen Crawford
       211 Sower Boulevard
       Frankfort, KY 40601
       Stephen.crawford@ky.gov
14     Wyoming Machinery Co.                     Trade                     $5,923,415.77
       Attn: Jim Thorpen
       P.O. Box 2335
       Casper, WY 82602
       jcthorpen@wyomingcat.com
15     Uniper Global Commodities SE              Trade                     $4,952,875.00
       Attn: Martin Rozendaal
       Holzstraße 6 40221 Düsseldorf Germany
       Martin.Rozendaal@uniper.energy
16     NRP (Operating) LLC                     Royalties                   $4,725,491.70
       Attn: Greg Wooten
       Lockbox 2495
       Columbus, OH 43260
       gwooten@wpplp.com
17     Aquatic Resources Management              Envir.                    $4,065,845.05
       Attn: Josh Howard
       2554 Palumbo Drive
       Lexington KY 40509
       jhoward@aquaticresources.us
18     Jones Oil Company, Inc.                   Trade                     $3,778,116.56
       Attn: Earl Jones/ Mike Jones
       P.O. Box 3427
       Pikeville, KY 41502
       mjones@jonesoilco.com

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       NAME OF CREDITOR AND COMPLETE          NATURE         INDICATE IF   AMOUNT OF
              MAILING ADDRESS                 OF CLAIM         CLAIM IS      CLAIM
                                                            CONTINGENT,
                                                           UNLIQUIDATED,   (If Secured, also
                                                            DISPUTED, OR     state value of
                                                             SUBJECT TO         security)
                                                                SETOFF

19   Fairmont Supply Company                    Trade                      $3,751,806.71
     Attn: Tony Dodds
     75 Remittance Drive, Dept. 1404
     Chicago, IL 60675-1404
     tonydodds@fairmontsupply.com
20   Jennmar Corporation of Virginia            Trade                      $3,220,649.26
     Tony Calandra
     PO. Box 603800
     Charlotte, NC 28260-3800
     Attn: tcalandra@jennmar.com
21   Walker Machinery                           Trade                      $2,712,802.99
     Attn: Joe Yoerg
     1400 DuPont Avenue
     Belle, WV 25015
     Joseph_Yoerg@whayne.com
22   Triple H Real Estate, LLC                 Royalties                   $2,545,224.72
     Attn: Brent Walls
     1051 Main Street, Suite 100
     Milton, WV 25541
     Brent.walls@walls-cpa.com
23   Republic Superior Products, LLC            Trade                      $2,239,825.51
     Attn: Dennis Meredith
     13993 E KY
     550 P.O. Box 189
     Lackey, KY 41643
     Dennis.meredith@rsproducts.us
24   Dept. of Treasury - Office of Surface      Taxes                      $2,190,578.04
     Mining
     Attn: Duane Holliman
     P.O. Box 979068
     St. Louis, MO 63197-9000
     dholliman@osmre.gov
25   Jones Petroleum Services                   Trade                      $1,919,080.46
     Attn: Earl Jones/ Mike Jones
     P.O. Box 4276
     Pikeville, KY 41502-4276
     mjones@jonesoilco.com




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       NAME OF CREDITOR AND COMPLETE        NATURE        INDICATE IF   AMOUNT OF
              MAILING ADDRESS               OF CLAIM        CLAIM IS      CLAIM
                                                         CONTINGENT,
                                                        UNLIQUIDATED,   (If Secured, also
                                                         DISPUTED, OR     state value of
                                                          SUBJECT TO         security)
                                                             SETOFF

26   Javelin Commodities (UK) Ltd.            Trade                     $1,791,678.00
     Attn: Peter Bradley
     Manning House
     22 Carlisle Place
     London SW1P 1JA
     Peter.Bradley@Javelincommodities.com
27   JM Conveyors                             Trade                     $1,771,852.71
     P.O. Box 640339
     Pittsburgh, PA 15264
     Fax No. (412)963-8099
28   Kentucky River Properties, LLC         Royalties                   $1,744,442.41
     P.O. Box 633650
     Cincinnati, OH 45263
     Fax No. (859) 255-9362
29   Virginia Department of Taxation          Taxes                     $1,628,057.15
     1957 Westmoreland Street
     Richmond, VA 23230
     Fax No. (804) 254-6111
30   Cook Tire, Inc.                          Trade                     $1,509,957.48
     Attn: Teddy Cook
     P.O. Box 970
     London, KY 40743-0970
     connie@cooktireinc.com




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           UNANIMOUS WRITTEN CONSENT OF THE SOLE MEMBER OF

                                     BLACKJEWEL L.L.C.

                                          June 30, 2019

Effective as of the date written above, the undersigned, being the sole member (the “Member”) of
Blackjewel L.L.C. (the “Company”), hereby consents to taking of the following actions and hereby
adopts the following resolutions by unanimous written consent pursuant to the Company’s bylaws
or limited liability company agreement, as applicable, and the applicable laws of the jurisdiction in
which the Company is organized:

        WHEREAS, the Company has been investigating strategic alternatives for addressing
the liquidity needs of the Company and its affiliates, reorganizing their business, and maximizing
the value of the assets of the Company and its affiliates;

        WHEREAS, upon the advice of counsel and other professional advisors, the Member has
determined that it is in the best interests of the Company, the Company’s creditors, and other
interested parties to commence a case under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) and to take certain other actions to maximize the value of their assets;

       NOW, THEREFORE, BE IT RESOLVED AS FOLLOWS:

                                  Chapter 11 Bankruptcy Cases

       RESOLVED, that in the judgment of the Member, it is desirable and in the best interest
of the Company, and the Company’s creditors, equity holders, and other interested parties, that
the Company file a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the
United States Bankruptcy Court for the Southern District of West Virginia (the “Court”);

        RESOLVED, that the Member and each officer of the Company (each, an “Authorized
Party”) is hereby authorized and directed to take, in each case with the advice of counsel and the
Company’s other advisors, (a) any and all actions necessary or appropriate to prepare for and
cause such filings to occur, including, without limitation, by causing the preparation, execution,
verification, and/or filing of all petitions, schedules, statements, lists, “first day” motions and
applications, and other necessary or appropriate pleadings or papers, and (b) any and all other
necessary or appropriate actions in furtherance of commencing a bankruptcy case (the
“Bankruptcy Case”), obtaining necessary or appropriate relief from the Court, and/or otherwise
transitioning into operating under chapter 11 and any other relevant provisions the Bankruptcy
Code;

                                    Retention of Professionals

       RESOLVED, that, subject to the Court’s approval, the law firm of Squire Paton Boggs
(US) LLP (“SPB”) is hereby retained on the terms set forth in SPB’s Engagement Letter, dated
June 27, 2019, (as may be amended or modified from time to time) to serve as the Company’s
primary bankruptcy and restructuring counsel in connection with the Bankruptcy Case and to
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advise and assist the Company with respect to all aspects of the Bankruptcy Case, including,
without limitation, (a) preparing and filing all necessary or appropriate documents to commence
the Bankruptcy Case, (b) obtaining necessary or appropriate relief from the Court, (c) operating
under chapter 11 and other relevant provisions of the Bankruptcy Code, and (d) otherwise
performing its duties as a debtor and debtor in possession;

       RESOLVED, that the Company is hereby authorized and directed to continue to
periodically replenish, as required and as approved by the Court, the retainer in the amount of
$250,000 previously paid to SPB on account of the services rendered or to be rendered by it;

        RESOLVED, that Supple Law Office, PLLC (“Supple”) is hereby retained on the terms
set forth in its Engagement Letter, dated June 27, 2019, (and as may be amended, restated or
modified from time to time) to serve as the Company’s local bankruptcy and restructuring
counsel;

       RESOLVED, that the Company is hereby authorized and directed to continue to
periodically replenish, as required and as approved by the Court, the retainer in the amount of
$25,000 previously paid to Supple on account of the services rendered or to be rendered by it;

       RESOLVED, that, subject to the Court’s approval, FTI Consulting, Inc. (“FTI”) is
hereby retained on the terms set forth in its Engagement Letter, dated June 27, 2019, (as may be
amended or modified from time to time) to serve as the Company’s financial advisor in the
Bankruptcy Case;

       RESOLVED, that the Company is hereby authorized and directed to continue to
periodically replenish, as required and as approved by the Court, the retainer in the amount of
$200,000 previously paid to FTI on account of the services rendered or to be rendered by it;

        RESOLVED, that, subject to the Court’s approval, Prime Clerk LLC (“Prime Clerk”) is
hereby retained on the terms set forth in its Engagement Letter, dated June 29, 2019, (as may be
amended or modified from time to time) to serve as the Company’s claims, noticing, solicitation,
balloting, and/or tabulation agent for the Company in the Bankruptcy Case;

       RESOLVED, that the Company is hereby authorized and directed to continue to
periodically replenish, as required and as approved by the Court, the retainer in the amount of
$37,000 previously paid to Prime Clerk on account of the services rendered or to be rendered by
it;

        RESOLVED, that, subject to the Court’s approval, Jefferies LLC (“Jefferies”) is hereby
retained on the terms set forth in its Engagement Letter dated June 30, 2019 (as may be amended
or modified from time to time) to serve as the Company’s investment banker in the Bankruptcy
Case;

                Use of Cash Collateral and Debtor-In-Possession Financing

       RESOLVED, that the Company, by and through any Authorized Party, is hereby
authorized and instructed to make such arrangements and take such actions as it deems necessary


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or proper for the Company to use cash collateral as a debtor in possession under Chapter 11 of
the Bankruptcy Code;

        RESOLVED, that the Company, by and through any Authorized Party, is hereby
authorized and instructed to make such arrangements and take such actions as it deems necessary
or proper, including executing any necessary loan documents, for the Company to borrow funds
on a junior basis as a debtor-in-possession and to enter into a post-petition second lien secured
loan agreement to be funded by Jeff A. Hoops, Sr. and Clearwater Investment Holdings, LLC, as
debtor-in-possession lenders, in the maximum original principal amount of $20,000,000 at an
interest rate of LIBOR + 6% per annum;

                              Other Bankruptcy Authorizations

        RESOLVED, that the Company and each Authorized Party is authorized and empowered
to (a) take or cause to be taken any and all further action(s), (b) engage other professionals,
(c) execute and deliver further documents and instruments, and (d) pay fees and expenses, all as
such parties deem necessary or appropriate in order to fully carry out the intent and accomplish
the purposes of these resolutions;

        RESOLVED, that any and all past actions previously taken by the officers and/or
directors of the Company in the name or otherwise on behalf of the Company with respect to the
commencement of the Bankruptcy Case or otherwise in furtherance of any or all of these
resolutions are hereby ratified, confirmed, and approved; and

       RESOLVED, that these resolutions may be executed by facsimile, telecopy or other
reproduction method, and such execution shall be considered valid, binding, and effective for all
purposes.




                               [Signatures on the following page]




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